Case 2:03-cv-02599-BBD-dkv Document 58 Filed 04/19/05 Page 1 of 2 Page|D 90

UNITED STAT|ES DlSTRlCT COURT
wEsTERN Dls;TRicT oF TENNESSEE

ROBERT R. Dl TROLIO MEMPHIS {901) 495 -1200
FAX {901) 495 '1250
JACKSON (901) 421- 9200

CLERK OF COURT
FAX (901} 421 -9210

April 19, 2005

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RE: WADE SCOTT,JR. Vs. THE MED
03cv2599-D/V

Dear Counsel:

lt appears in the above referenced cause that the parties are unable to agree on the

taxation of costs.

Pursuant to Rule 54.1 of the Local R_ules for the Western District of Tennessee, the Clerk
is required to assess costs, after notice and hearing Accordingly, the Clerk will tax costs on
Friday, Mav 13, 2005 @ 9:30 a.m., in the Clerk’s office located in Room 242, Clifford Davis
Federal Building, 167 North Main Street, Memphis, Tennessee. You may appear at that time and
make any argument you believe relevant, but you are not required to attend. The Clerk Will
accept the citation of any law the parties think appropriate, but such submissions must be
received no later than one week prior to the scheduled hearing

Sincerely,
Robert Di Trolio, Clerk

by §/Léwl</)@W/

Deputy Clerk

fehg
c: Docket Clerk

242 FEDERAL BL||LD|NG 262 FEDERA|_ BU|LD|NG
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167 N. MA|N STREE`|'
MEMPH|S, TENNESSEE 38103 JACKSON, TENNESSEE 35301 ;

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:03-CV-02599 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

David P. J aqua

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Robert Di Trolio

CLERK, U.S. DISTRICT COURT
242 Federal Bldg.

167 North Main Street

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

